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Attorney for Defendants
                  IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA

Jeremiah M., Hannah M. and Hunter M.     )
by their next friend Lisa Nicolai; Mary B.
                                         )
and Connor B. by their next friend       )
Charles Ketcham; David V., George V.,    )
Lawrence V., Karen V., and Damien V.     )
by their next friend Michelle Caldwell;  )
and Rachel T., Eleanor T. and Gayle T.   )
by their next friend Rebecca Fahnestock, )
individually and on behalf of all other  )    Case No.: 3:22-cv-00129-JMK
similarly situated,                      )
                                         )
               Plaintiffs,               )    DECLARATION OF COUNSEL
                                         )
 v.                                      )
                                         )
 ADAM CRUM, Director, Alaska             )
 Department of Health and Social         )
 Services, in his official capacity; KIM )
 GUAY, Director, Office of Children’s    )
 Services, in her official capacity;     )
 ALASKA DEPARTMENT OF HEALTH )
 AND SOCIAL SERVICES; and                )
 ALASKA OFFICE OF CHILDREN’S             )
 SERVICES,                               )
                                         )
               Defendants.               )


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     Chris Robison swears and affirms as follows:

1.   I am an Assistant Attorney General with the Alaska Department of Law. I am one

     of the attorneys representing Defendants in the above-captioned matter.

2.   Upon information and belief, Plaintiffs caused a summons and one-page listing of

     the parties to the case to be delivered to the offices of Defendants Crum and Guay,

     as well as to the Alaska Department of Law, on or about May 25, 2022. The

     deliveries did not include a copy of the complaint.

3.   To date, Plaintiffs have not served the complaint on any Defendants.

4.   After discovering that the complaint had not been included with the delivery of the

     summons, I reached out to Plaintiffs’ counsel on June 9 to bring the defect in

     service to Plaintiffs’ attention. I did this in an attempt to avoid unnecessary motion

     practice related to defective service.

5.   During the June 9 call, I also requested additional time, after service was properly

     effected, to answer the complaint or move to dismiss it.

6.   During a June 15, 2022 call, Plaintiffs’ counsel confirmed with me that Plaintiffs

     had failed to serve a copy of the complaint. Plaintiffs’ counsel also stated Plaintiffs

     would agree to Defendants’ request for additional time to respond to the

     complaint, provided Defendants agree to produce the “OCS records” for each of

     the Plaintiffs so the parties could begin work on a discovery plan.

7.   My understanding is that the production of OCS records for each plaintiff requires

     a sequence of internal approvals, careful review (and potentially, redaction),

     adherence to confidentiality and privilege protections, and multiple protective



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      orders issued by different courts. Because of this, Defendants were not in a

      position to make the commitment sought by Plaintiffs in exchange for their

      agreement to Defendants’ request for an extension of time.

8.    For the reasons set forth in Defendants’ motion, good cause exists to grant the

      motion for an extension of time to respond to the complaint.

9.    One of the Defendants in the case, the Alaska Department of Health and Social

      Services (“DHSS”), was recently split into two separate departments – the

      Department of Health and the Alaska Department of Family and Community

      Services. That transition is underway and has complicated counsel’s efforts to

      interact with client representatives.

10.   I have both ongoing and upcoming obligations in other cases, including multiple

      depositions in a case challenging the constitutionality of a state statute, in addition

      to a hearing in Federal court in the lower-48.

11.   Defendants are requesting a 45 day extension to the deadline to respond to the

      Plaintiffs’ complaint. This request reflects counsel’s belief in the amount of time it

      will take to research and brief a motion to dismiss or to research and answer each

      allegation in the complaint.

12.   I declare under penalty of perjury that the foregoing is true and correct to the best

      of my knowledge.

      Dated: June 17, 2022.
                                                         /s/ Chris A. Robison
                                                         Chris A. Robison
                                                         Assistant Attorney General
                                                         Alaska Department of Law



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